Case 5:17-cv-O4400-.]LS Document 1 Filed 09/22/17 Page 1 of 15

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

Defendants

NOTICE OF REMOVAL

 

JAMES G. KozENIEwSKi and z iN THE COURT oF CoMMoN PLEAS
MARY CATHERINE KoZENIEwsKi, ; PHILADELPHIA coUNTY, PA §
Plaintiffs ' l
No.; 170502543
V. d
JURY TRIAL DEMANDED
TEoFlLo DIAZ and : §
CARGo soLUTloN EXPRESS, INC. and ; CIvIL ACTIoN - LAW
DIRECT HAUL CARRIER, LLC, §
l

Defendants, Teofilo Diaz and Cargo Solutions Express, Inc,, (hereinafter “l\/loving

Defendants”) hereby file the following Notice of Removal, and in support thereof, State the

following:

1. Cargo Solutions Express, Inc., is a California Corporation with its principal place
ofbusiness located at 15597 Valley Blvd., Fontana, CA, 92335.

2. Defendant, Teofilo Diaz, is an individual with a last known address as 33 Hanford
Street, Newarl<, NJ 07114.

3. By information and belief, Defendant, Teofilo Diaz, has never been a
Pennsylvania resident

4. Defendant, Direct Haul Carrier, LLC, is/was a California limited liability
corporation with a principal place of business of 7349 l\/[illil<en Avenue, Suite
140-310, Rancho Cucainon'ga, CA 91730.

5. Plaintiffs, J ames and l\/lary Kozeniewsl<i, are individuals who reside at 1125

Silver Lake Lane, Blue Bell, Montgomery County, Pennsylvania, 19422.

 

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6. Plaintiffs filed a Complaint against Defendants in the Court of Common Pleas of
Philadelphia County, Pennsylvania on May 17, 2017. A true and correct copy of Plaintiffs’
Complaint is attached as Exhibit “A.”

7. In the Complaint, Plaintif`fs seek damages, inter alia, for personal injuries
allegedly sustained in a motor vehicle accident on May 28, 2015, at or near Lincoln Highway,
Salisbury Township, Lancaster County, Pennsylvania.

8. At a Case l\/Ianagement Conference held on August 28, 2017, Plaintiffs made a
settlement demand of Four Hundred Thousand Dollars ($400,000.00).

9. As such, Plaiiitiffs claims exceed the jurisdictional amount of Seventy~Five
Thousand Dollars ($75,000.00).

10. Moving Defendants are filing this Notice of Removal in that complete diversity of
citizenship exists between Plaintiffs, as citizens of Pennsylvania, and Defendants, who are
neither citizens of Pennsylvania, nor do they maintain principal places of business in
Pennsylvania and the amount in controversy is in excess of Seventy-Five Thousand Dollars
($75,()00.00).

11. Under U.S.C. § 1446(b), removal is timely if filed within thirty (30) days of
service of the Complaint. v

12. As of the date of filing of this Notice of Removal, Plaintiffs have not effectuated
service of original process upon Moving Defendant, Teofilo Diaz; therefore, removal is timely
under U.S.C. § 1446(b).

13. Moving Def`endants shall provide written notice to the Plaintiffs, as required by
28 U.S.C. § 1416(d),

14. A copy of this Notice will be filed with the Prothonotary of Philadelphia County,

 

 

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as required by 28 U.S.C. 1446 § (d).

FORRY ULLl\/IAN

r/M

SEAN P. BUGGY, ESQUIRE
Attomey l.D. No. 77847

150 South Warner Road, Suite 450
King of Prussia, PA 19406
610-977-4129

shu ggv(c:t"t`orrvu l l m an . com

Dated: q[l§l id

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Exhibit “A”

 

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Court of Common Pleas of Philadelphia County
'l`rial Divisi<)n

Civll Cover Sheet

PLA|NT|FF‘S NAME DEFENDANT‘S NAME

 

 

 

 

 

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1125 srr.vaa haas liaer wrNDsoR AvaNUa
main anna PA 19422 MERIDFN ctr 06453.

PLA|NT|FF.I§NM§., …. DEFENDANYS NAME mm~._.__"., …_.,.WM
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anna BELL PA 19422 F<;)NTANA csx 92335

§MNTIFF,B NAME …M WDEFENBEKH;§NAME nn _M …MWMM,

D'ERECT HAUL CARRIER, LJ`,\C

§ Pme‘tPF's Aumnsss DEFENDANT's Anomzsa
= 7349 MILLI¥<EN AVENUE SUITE 140 - 310

RANCHO CUCAMONGA CA 91`730

 

 

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m More than $50,000‘00 [§’:i Non~Jury
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P;W paow o ‘Y;§S NQ }
l\/lAY 1 7 201 7 '
K. EDWARUS

 

'l`O TI'IE PROTHONGTARY‘
Kindly enter my appcatance on behalf 01 Plaintiff/Petitionm/Appellant: JAMES 5 KO?ENIEWSKI ' MARY

CA'I.`HE'.RINE £<OZENI EWSKI
Papers may be served at the address set forth below. ""'"""""”"”"““‘“””””"""""””""""

 

v NAME OF'" FLA\NTIFF'S/PETIT|ONER‘S/APPAMNTS ATTCJRNE\’ AODRESS

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wHoNENui/iees FA>< NuMBER PHILADELPHIA I?A 1~91.03
(215)567~9900 (2.15)58'7-~9930
MS.EF;&EMEEMRT|SEI`;H!;;&MI.(J,N Ndn.n.., m ,. r,, . , _~ ,mn._E'M.l_'__XBB§E§§W,.W_,_,________"__, ,
34397 dd@disandrcmalloy.<:om
sldh)\fbne or= mae ATrcRNév on mm 7 w 7 m 41 oAré§iiar'dirri§:o
'E' DOUGLAS DISAMDRO Wednesclay, May 17, 201'7, 10:`36 am

' ifirli}$§tfcoé"v (App§aT/ad"i$y"irid Wioihonaiary clérk)

 

Case 5:17-cv-O4400-.]LS Document 1 Filed 09/22/17 Page 6 of 15

DISANDRU & MALLOY, P.C.
By: E. Ui)ngins DiSimdro, Esquii*e
Identificatiou No. 34397

1760 Markeii Street, Suite 1201
I’hiiadelphia, I’ennaylvania 19103

(215) 587~9900

 

JAMES G. KOZENiEVi/SKI and

,MARY CATHERINE KOZENIEWSKI, `h/W
1 1325 `Silver Lalce La.ne

Blue Bell, PA 19422

VS.

TEGFI'LO DIAZ

110 "Win<:lsor Avenue

Mericien, CT 0645'1

and

CARGO SOL.UTION EXPRBSS. li\lC.
1458’7 `Valley Boulevard
Foniana, CA 92335

and

DIREC‘I` HAUL CARRJER, LLC
7349 Millikeri Avenue

Suite 140 -310

Rancho Cucnm'cnga, CA. 91730

ATTORNEY FOR PLAIN'I`IFF

mind *nn'd,k§ii:;s§ cna

‘ ' '-v
`?»

corner on common PLEA\’§§ x
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TERM, 201 '7

NC).

 

CIVIL ACTION

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You have been sued in court Ifyou wish w defend against the
claims sec tenn in tile following puges, you must inlin action within
enemy (20) days atth this complaint and notice ana served by
entering a written appearance personally er by attorney and filing ln
writing with inc court your defenses or mentions to the simms sec
forth against you. 'Yon are warned that i)‘.’you fail to de so the case
may proceed without y<in and a judgment may bn entered against
you by the court without further notice for any money claimed in the
compiaint or for any other claim or relief requested by the plaintii‘f`.
You may lose money or property or other rights important to you.

YO`U SHOU'LD 'I“AKE '.I`HIS PAPER 'I'O VOUR l,AW‘{EK A'I'
ONCE. IF ’S’OU DO NOT HAV`E A LAW‘YE}{ OR CANNO'I’
AFT"ORD ONE, GO TO OR TELEPHONI€ '!THE OFFICE SET
FOR'Z`H BEIDW 'I`O FIND OUT WI"IERE YOU CAN GET
LEGAL I~IELP. 'l"l~ll§ OFFTCE CAN PROVIDH Y'OU Wl'i`l»{
INFORl\/MTION ABOU'{` H'IRING A LAWYER. iii YOU
CANNQ'I‘ AFFORD ‘I'O HlRE A LAWYER, "I'P'l"lS OFI`~’ICW MAY
BE ABLE 'I`C) PROVZDE YOU WiTil I'NFORMA”I`ION ABOU'I‘
AOENCIES THAT MAY OFI'E'ZR LEGAL SERVICES TO
Bl»lG[BLE I’ERSONS A,T A RBDUCED FEE C)R NO 17 EE.

PHILADBLPHIA, BAR ASSOCIATION
LAWYER REFERRA£, AND INFORMATION SERV!CB
One fleming C¢nter
Piiiladclnhia, PA l9i07
'l`eieplione: 215-238~1701

AVISD

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Case li:}: l70502543

 

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DISAN’DRO & MALL{)Y, P.C.
By: E. Douglaa DiSandro, Esquire
ldent.i.fication Nn. 34397

1760 Market Str‘eet, Suite 1201
liiiiladeiphia, Pennsylvnnin 19103
(215) 587~9900

 

JAMES G. KOZIENIEWSKI and

MARY CATHERINE KOZENIEWSKI, h/W
.'f125 Silver Lal<.e Lnne

Blue,l§$ell, PA 19422

VS.

TEOFILO DIAZ

110 Winciscr Avanae

l\/lericlen, C'i` 06451

and

CARGO SOLUTION EXPR.ESS, INC.
14587 `Valley Boulevarci
Fontana, CA 92335

and

DI`RI§€CT i“lAUle CARRIER, LLC
7349 Miliil<:en Avenue

Snii;e 140 -» 310

Rancho Cucamcnga, CA 91'730

 

ATTORNEY FOR PLAINTIFF

COURT OF COl\/IMON PLEAS
Pl"'fILADELPHiA COUNTY

TERM, 2017

NO,

CIVIL ACTION

COUNT ON_E

JAM]§IS G. KOZENIEWSKI V. TEO.FILU DIAZ AND CA.RGO
SOLUTI*GN §§XPRESS. INC. ANI) DIK§ECT HAUL CARRIER» LLC

1. Plaintiff, James Cr. Koz;eniewsl~:i, is an individual who resides at 1125 Silver l.,al<;e

Lane, Blue Bell, PA 19422.

2. Pla'intiff, M'ac'y Catherine K,ozeniewsl<;i, is an individual who resides at 1125

Silvei: Lal<e Lane, Blue Bell, PA 19422.

Ca;~.ie ii.:): 1,'70502543

 

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3. Dcfcndant, Tcol?ilo Diaz, is an individual who resides at 110 Windsor Avenuc,
l/lc;ridcn, CT 06451,

4* Defcndant, Cmrgo Solution Exprcss, Inc., is a Calil`ornia Coijporaiion with a
principal place of business located at 1458'7 Valloy Bonlcvard, l@`<:iniai'lax CA 92335, and an agent
for service of process c/o Balwin,der K. Kang, 24203 Pcal»: Ct., Diamoncl Bar, C/~\ 91765.

5. Dcfendant;, Direot Haul Carricr, LLC, is a California Corporation with o principal
place of business located at 7349 l\/lillikcn Aveouc, Suite l40~3l0, Rancho Cucomonga, CA
91730, and an agent for service of process c/o Bolaby S. Kang, 92l6 Cotlonwood Way, Rancho
C'ucamonga, CA 9173”7,

6. At all times material hcroin,, dofondanis, C~argo Solotioo Exp:rccs, l`ne. and/or
Dh‘cct llall Carrior, LLC, did in fact solicit customers via advertisements in Philodolphia
nowapapcrc and in Philadclpnia telephone directory and were thereby conducting business co a
routine basis in the Pliiladclphio area and deriving compensation 'ihcrcll‘om, and further operated
their tractors and/or trailers throughout thc City of Philadelphia.

7. 011 or about l\/lay 28, 2015», the plaintiff lemos G. Kozenlcwski, was thc owner
and operator of a certain motor vehicle involved in the accident hereinafter referred to.

8. On or about the aforesaid date, tire defendani:, "l`col"ilo Dio~z, did operato, possess
and control a certain tractor trailer involved in the accident hereinafter referred to.

9. At all timcs material herc'to, defendants Cargo Solution 'Exprcss, lnc. and/or
Dircci: Haul Carricr, LLC, ownch maintained and Scrvicod a certain tractor trailer Whicli was
involved in the accident hcrcinaf`lcr referred to.

l(). fin or about May 28, 2015, the tractor lrailcr operated by thc dc.tcndaot, 'l`co'l'ilo

lillian and/or another agcni, servant, workman or omployee, Was owned by dcl"cm;lani:s3 Ca'rgo

Casc iD: 120502543

 

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Solution Express, lnc. and/or Direct l-laul Carrier, LLC, and was being operated by dct`endant,
Teofxlo Diaz and/or another agent, servant, workman or employee, with the pelmission of
defendants Cargo Solution Express, lnc. and/or Direct llaul Carrier, LLC , and as the agent.
Servant, workman and/or employee of said defendants Cargo Solution Exprcss, Inc. and/or
Direct I-Iaul Carricr, LLC, and in the furtherance of the interests of defendants Cargo Solution
Exprcss. lnc. and/or Direct Haul Carricr, LLC, acting at all times within the course and scope of
his employment

ll. On or about May 28, 2015, the vehicle owned and operated by the plaintiff
lames G. Kozcnicwski, was proceeding in an eastbound direction on Lincoln Highway. public
highway in Salisbury Township, Lancaster County, Commonwealth of Pennsylvania.

12. On or about the aforesaid date, the tractor trailer being operated by the defendant,
'l`eoi`llo Diaz and/or another agent, scrvant, workman or cmployee, as the agent, servant,
Workman and/or employee of defendants, Cargo Solution Express, Inc. and/or Dircct Haul
Carrier, LLC, was also proceeding in an eastbound direction on Lincoln Highway, when il was
so carelessly, negligently and recklessly controlled and operated as to cause it to come into
contact and collision with the rear of the plaintiffs vehicle which was then and there lawfully
proceeding, said collision resulting in injuries to the plaintiff hereinafter more specifically set
forrh.

13. At the time and place aforesaid, the carelessness, recklessness and negligence of

the defendants, consisted of the following:

(a) Operating the said tractor trailer at a high and excessive rate of speed under the
circumstances;
(b) Failing to have the said tractor trailer under proper and adequate control;

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(c) Failing to give proper mci Suftioiont notice ot`his approach

(d) Dtivlng too fast for the conditions thom and there present, including but not
limited to the Weather, road and traffic conditions and/ot the size of the tractor trailer and its
load;

{o) Boio,g inattentive in failing to maintain a oat'oi`ul, cautious and prudent lookout
upon the highway

(i) Foiliog to oxetoi$o due cato and caution under the conditions then and there
prosont, inolttt;llttg but not limited to the Weathor, road and trafth conditions and/or the size of tito
trooth trailer and its loat:t;

(g) Operztting, the sold tractor trailer without cluo regard for tito tighto, Sot`oty and
position of tito plotntit`f;

(it) 'Vioioting the various ord'inaooos. and laws o;l" the Cotmty of lionoastot, and the
statutes o;t` tho Commonwoalth of Pomtsylvo;nio penoloan to too operation ami control o.:t' motor
voltioleo and/ot tractor trailots;

(l) Dtivittg the tractor trailer at a Spootl greater than Wlll permit the driver to bring his
vehicle to tt stop Wi,thio the assured clear distance ahead;

(j) Dtiviog the tractor trailer at a Spoocl greater than is reasonable otto prudent under
the conditions With regard to the actual and potential hazards tliott amd thoto oxisting,;

(lc) lf>tiving the tractor trailer Withottt proper and adequate training

(l) tolling to properly observe and obey the statutes o;t` Poonsylvanio pertaining to tho
operation oi:` motor vehicles mid/or tractor trailots;

(m) 'Faillng to properly obraotvo and obey the regulations of the lntetstote Commotoo

Com;mission pertaining to the operation of tractor trailors;

Czt:zo ll.,`>; 1?0502543

 

 

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(n) D'riviog the tractor trailer in violation of Titlo 49 C.F.R. Subchaptor (B);

(o) Violatiiig various federal statutes, rules and regulations including but not limited
to the Fedoral l\/lotor Coi'rior Sa'l`ety Regulations as contained in 49 C.F.R. Subclmptor (B);

(p) Violating hours regulations of the Fl\/ICSR;

(q) F'ailliig to properly maintain and Servioo said tractor trailoi';

(:r) Pailing to properly train their agonts, sorvants, Worli:mon and/or omployoos;

(S) Failing to exercise due cato and caution under tlio circtimsl;anoo$;

(t) Disrogarding traffic controls and conditions;

(it) Nogligot'itly entrusting Saici vohiolo;

(v) 'Nogligently hiring their agonts, sorveints, Woi“i<:mort mid/or omployoes;

{w) Boii'ig otherwise negligent under the oiroumsta'i:ioes;

(x) A;oy other acts or omissions which constituted iiogligonoo, oatelossooss, and/ot
reckless indifference for the Sot`oty of the plaintiff and that are discovered iii tlio discovery
process as promulgated by the Ponnsyl’vania Rulos of Clvil Pi‘ococloro or at the trial of this oasol

l¢»l. AS o dirooi: result of the dofonc:l€mts' oatelossnoss, recklessness amd negligence as
afoi'osaid, plaii:tli;l"l`, lomas C‘:l. Kozoniowsl<i, Sustaine<i gai/oro internal and external injuries in and
about the head, body and limbs, including but not limith tot C4~C5 control herniated disc and
bilateral foi'amiz:ial stonosis, C$~CG central herniated dioc, CG~C.7 central and left paraoonttal
herniated diso, Suporimpo$od bulgo, severe left and modoi'ato right foraminol steiiosis, mass
effect exerted on spinal cord with canal stonosis, C7'~'l`l annuier tom with control homiatod, diso,
'I`Z~T3 and '1`3»'1`4 bulging, CB~C4 disc bulgo, epidural iojootions, and a Sovoi:o shock to his

nervous Systom, all of Wliioh have causotl him and will continue to cause him great pain and

 

Cét$o lD: l 7050`25143

 

Case 5:17-cv-O4400-.]LS Document 1 Filed 09/22/17 Page 12 of 15

agony, and have prevented him dod will continue to prevent him iii the future from attending to
his daily duties and occupation, all to his great financial damage and loss.

15. At all times relevant heroin, the plaintiff, landed G',. Kozohicwski, will bc
considered covered by thc Full Tort option applicablo wilder the Ponnsylvania l\/lotor Vohiolo
Finonoial Rosponsibllity l..,aw, which provides him an unlimited right to sue for both economic
and non~ccoiiomio damages and pain and suffering doc to the fact that on tlio datc of the
acoidcnt, the vehicle operated by thc dci`cndant, "l"oot’ilo Diziz, tvas registered in a Stotc other than
the Commotiwoaith of l`~“ormsylvonia

116. iii addition9 plaintiff had Sttstolncd o Sorious impairment o'l“` bodily hinction and
pcimaricht injuries arising from this dooldcht described hcforo, all of Which gch him thc right to
soo 'oiidcr Pcnnsylvohia Low, dcspitc the foot tth ho is covered by tho full tort option

'1'7, Furthor, lay reason of the aforesaid plaintii`f, ladies G. Kozcnlowsl<;i, has boon
obliged to cxpcnd various Sums oi"` motley for modicinc and medical attention in and about
endeavoring to treat and onto himself of his said injuri,cs, and Will be obliged to expend
additional sums of money for thc santo purposes in the futuro, all to his great financial damage
and lo$s,

l& .AS a further i‘csult oil the accident and thc injuries sustained tlici'cin`. plaintil:`l‘,
lhwca G. Kozeiiiowski, has and/or may suffer lost wach dod on impairment of his coming
capacity and 'powcr, which lost Wagos and impairment oi:`ootiiiiig capacity and power hato or may
exceed the sums recoverable unch thc limitations ot` the Ponnsylvonio l\/iotor Vohiclc Pi:iio.ricidl
'Rcs;)ohsibility law

19, As a direct result of thc accident aiorcso,id, plaintiff has and Will hereinafter incur

additional financial and/ot medical expenses or losses which will exceed amounts Wliich he may

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Case 5:17-cv-O4400-.]LS Document 1 Filed 09/22/17 Page 13 of 15

otherwise be entitled to recover under the l>elmeylvanlu l\/lolor V`cl'\icle Finarlcicl Respousibility
Lavv.

20. Gn the aforesaid dete, plaintiff Jamee G. Kozeuiewsl<i, was the owner off a 2004
Toyota Avalon, which Was in excellent physical and mechanical condition AS c direct result of
the negligence of the defendaut, plaintist vehicle sustained extensive damage requiring repair
end replacement of panel together width labor e,hcrges, ell to plaintiffs great financial damage end
lose

WHEREFORB, pleintifl`, lemos C`:i. Kozeniewslci, demands judgment against the
defendente, Teoiilo D,iez and Ca;rgo Solutio:n Express, lnc. end Diz‘eot lilmil Cerrier, LLC., in en

amount to excess o;l"l?"l:fty Tliousaod ($50,000.00) Dollars, plus interest end oosts,'.

§,;Q;,UM
.MAKY CA,’I`HERINE KUZZENIEWSK! V. 'I`EOFILQ DIAZ AND CARGO
SOLUTION §§XPRESS. INC. A`ND DIRDWRRI_'__EMLQ

21. Pla;izitifl; l\/lory Catherinc Kozeniewsk;i, le the wife of plaflnilff, Jcmee iiit
Kozeiiiewel<;i, end resides With him et 1125 Silver Lol<:e Lezxe, Blue Bell, PA 19422,

22. Plalnti'l“t§ Mery Cetltex‘ine Kozenicwski, incorporates herein by reference the
averments contained in paragraphs l through 20, inclusive es fully es though the came Were set
forth herein ut leog;tl'l.

23, As a direct result ol` the d,eleodante’ carelessness, recklessness and negligence ec
ef‘<':)reee.i<;l5 pleintiff, l\/lcyy Cotherine Kozeniewskl, wes, for a period of time, may and probably

will in the future be deprived of the sooiety, assistance end support of her husband plein,tiff,

Coee ll?l: li-"O§O?;S¢l;i

 

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James G. Kl<>zeniewsl<;l, all of Whi<;ll has been and will continue to be to her great flnancllll,

physical, psychological and emotional damage and loss.
WHEREFORE, plaintiff, l\/lm‘y Cath<erlne K<)zeniewsl<ll, demands judgment against the
defendant$, Teolllo .`Dialz and Ca.l'go Solution Express, Incl and Dll'ec'l: llelul Carrier, llllC`, in all

amount in excess ol`l~“"i:l”ty 'l`housancl ($50,000.00) Dollars, plus interest and costs.

DISANI:)RO &, MAl,llQY_, l>

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Ca:»‘.€ ID: l’?O§GZS»/l?)

 

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VERIFICATIGN

l, Jamels G l l<oz@n:tewslci , make this verification subject to the penalties
of 13 Pa. C.S.A. '4~904, relating to unsworn falsification to au‘cllori'l:ies. 'll`llo atlaohed pleading is
baood upon infolmalion Wllich l have furnished to my counsel and information Wllioh has been
gathered by my counsel ill preparation for lbo prosecution of this lawsuit 'l’ho language
contained ill the pleading is that of counsel and not mino. l have road the pleading, and to the
extent ll is based upon lnfonnatlorl Wllich l have given to my oouns¢:l, lt is true land correct to the
best of my kno‘lvlodgo, information, and bollef. To the extent that the contents of the pleading

are that of counsel wave relied upon my counsel in making this Veriilcation.

JA§ES <;l lcozl:lli;lzwsl<l

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